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               5
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               7
                                         UNITED STATES DISTRICT COURT
               8
                          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
               9

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                                                                CASE NO. CV19-08109 SVW (MAAx)
              11    DANIEL NERSOYAN,                            Hon. Stephen V. Wilson
              12                      Plaintiff,                SUPPLEMENTAL
              13                                                DECLARATION TO PLAINTIFF’S
                   v.                                           EX PARTE APPLICATION TO
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              14
                   COUNTY OF LOS ANGELES, a county              CONTINUE HEARING
              15                                                DEADLINE ON MOTION FOR
                   corporation; COUNTY OF LOS
              16   ANGELES SHERIFF’S                            SUMMARY JUDGMENT

              17
                   DEPARTMENT, a public entity;
                   SHERIFF JAMES MCDONNELL, in his
              18   official capacity and as an individual;      Trial Date: January 12, 2021

              19
                   DEPUTY KENNETH COLLINS,
                   individually and in his official capacity
              20   as a Deputy, and DOES 1 through 10,
              21
                   inclusive

              22                      Defendants.
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               1   DECLARATION OF COUNSEL
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                         1.     I am duly admitted to practice before all courts in the State of
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               4   California, and before the following federal courts: the Central District of

               5   California, the Eastern District of California, the Southern District of California, the
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                   Northern District of California, along with the Ninth Circuit Court of Appeals. I am
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               8   the attorney of record in this matter. If called upon as a witness I could and would
               9   competently testify to the contents hereof.
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                         2.     I initially filed this action on September 18, 2019.
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              12         3.     During the initial filing, I was at the time unaware that my health was
              13   failing since I just turned 64 years old, I believed that I was aging normally. Other
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              14
                   than the fatigue I had no noticeable deficiencies.
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              16         4.     Soon after the filing, on or about October 10, 2019, while golfing I was
              17   fatigued, but this day I was experiencing shortness of breath and feeling a headache.
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                   I quit golf and went home. I contacted a friend who drove me to Cedars Sinai.
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              20         5.     At Cedars Sinai it was learned that I suffered a heart attack and a
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                   stroke. Both were caused by a birth defect, a bicuspid valve. I was told that I
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                   would need time to heal for heart valve replacement surgery in January.
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              24         6.     In November 2019, I suffered several additional heart attacks and was
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                   hospitalized for an extended period-of-time.
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                                  Ex parte to Continue MSJ (Sup. Declaration)
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               1         7.     On December 13, 2019, I was attacked in my office in Century City
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                   which triggered a brain seizure. I was hospitalized in the Intensive Care Unit of an
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               4   Orange County hospital from December 14, 2019 to December 24, 2019.
               5         8.     Late in the evening of December 23, 2019, I was watching the
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                   monitors next to my hospital bed and noticed that my blood pressure was extremely
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               8   low, 50/30. At the time, I was under the influence of morphine so I believed that
               9   the machine was malfunctioning. In the early hours of December 24, 2019, I
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                   realized that it wasn’t the machine, it was me that was in trouble. I got on social
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              12   media and asked for help. A friend from Santa Monica drove out to Orange
              13   County, picked me up and took me to Cedars Sinai.
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                         9.     It was explained to me at Cedars that the morphine should not have
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              16   been provided given the recent heart history. Around 8 pm on December 24, 2019 I
              17   was released from Cedars Sinai.
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                         10.    In January 2020, before the heart surgery date was finalized I became
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              20   extremely ill with the flu and remained ill well into February.
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                         11.    The heart valve surgery was scheduled in March. However, Covid
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                   moved the surgery date up several days.
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              24         12.    I had heart valve replacement surgery on March 16, 2020 at Cedars
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                   Sinai. Several days later I returned to Cedars after suffering from a stroke, which
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                   was a possibility with the surgery. I needed follow up surgery after Covid subsided.
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                                  Ex parte to Continue MSJ (Sup. Declaration)
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               1         13.    I had the follow up surgery in June 2020. The upside was that there
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                   wasn’t a great deal of damage as expected so the procedure wasn’t as invasive as
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               4   planned.
               5         14.    I was instructed by my cardiologist in August/September that I could
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                   return to work full time and continue with strenuous exercise.
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               8         15.    Soon after I did not return to practice full time and moved my office
               9   from a larger building in Century City to a smaller building in Beverly Hills due to
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                   Covid-19 concerns.
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              12         16.    I have recently learned from the mapping of my brain, that I had
              13   suffered a stroke before October 2019. Medical science can determine from the
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              14
                   brain mapping that the stroke was older than the stroke in October 2019, but
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              16   medical science is not certain how much older.
              17         17.    If needed, I can bring my health records for an in-camera review or I
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                   can email them to chambers.
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              20   EXECUTED on November 16, 2020, at Beverly Hills, California.
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                                                                  Michael Devereux
                                                                     Michael Devereux
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                                  Ex parte to Continue MSJ (Sup. Declaration)
